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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                       Case No. 21-20706-CIV-TORRES/GAYLES

  MEUDY ALBÁN OSIO, et al.,

        Plaintiffs,

  v.

  NICOLAS MADURO MOROS, et al.

        Defendants.
  ______________________________/

       ORDER ON JUDGMENT CREDITOR’S MOTION TO COMPEL NON-
                PARTY’S COMPLIANCE WITH SUBPOENA

        This cause comes before the Court on Plaintiffs’ Motion to Compel X Corp.’s (a

  non-party) Compliance With Subpoena. [D.E. 128]. X Corp. timely responded to the

  Motion [D.E. 144], to which Plaintiffs timely replied. [D.E. 146]. The motion,

  therefore, is ripe for disposition. 1 After careful review of the briefing and relevant

  authorities, and for the reasons set forth below, Plaintiffs’ Motion is GRANTED.




  1 On August 12, 2024, the Honorable Darrin P. Gayles referred this matter to the

  Undersigned Magistrate Judge for disposition. [D.E. 131].
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                                I.        BACKGROUND

        On August 6, 2023, Plaintiffs procured a Final Default Judgment against

  Defendants for $217,000,000.00. [D.E. 91]. In the pending Motion, Plaintiffs seek to

  uncover “basic subscriber and payment information” for the X Corp. accounts of

  several of the judgment debtors in this case, including Nicolas Maduro, Vladimir

  Padrino, members of the Cartel of the Suns, and certain of their associates (“the

  Subject Accounts”). Particularly, because those accounts are “verified,” and procuring

  a verified account with X Corp. costs money, Plaintiffs seek to identify how the

  accounts are funded. To procure that information, Plaintiff subpoenaed X Corp.

        In response, X Corp. seeks to ensure that no First Amendment concerns or

  violations are triggered by X Corp.’s compliance with Plaintiffs’ subpoena.

  Specifically, X Corp. contends that while the names of the X Corp. accounts may

  comport with the judgment debtors, X Corp. does not know whether the persons who

  actually created or operate the accounts are in fact the judgment debtors. Thus, X

  Corp. seeks to avoid a situation in which it violates the First Amendment by

  unmasking the accounts, only to find out that the true account holders are in no way

  affiliated with the judgment debtors.

        Accordingly, at issue is whether Plaintiffs’ subpoena triggers First Amendment

  concerns and, if so, whether those First Amendment concerns should prohibit X Corp.

  from complying with the subpoena.




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                                   II.    ANALYSIS

        The First Amendment protects online speech. See Buckley v. American

  Constitutional Law Foundation, Inc., 525 U.S. 182, 199-200 (1999). Further, “[t]o the

  extent that anonymity is protected by the First Amendment, a court should quash or

  modify a subpoena designed to breach anonymity.” Arista Recs., LLC v. Doe 3, 604

  F.3d 110, 118 (2d Cir. 2010). But courts have, however, “routinely held[]” that

  “‘[i]nternet subscribers do not have a reasonable expectation of privacy in subscriber

  information they have already conveyed to their [Internet Service Providers].’” AF

  Holdings, LLC v. Does 1-62, 2012 WL 488217, at *4 (S.D. Fla. Feb. 14, 2012) (citing

  Doe v. S.E.C., 2011 WL 4593181, at *3 (N.D. Cal. Oct.4, 2011)).

        Plaintiffs argue that the First Amendment is not implicated because there is

  no reason to believe the account holders are anonymous. Further, Plaintiffs point out

  that the information sought does not include “private messages or other similar

  communications”; rather, it is merely commercial information. [D.E. 146 at 2].

        In response, X Corp. argues that it cannot simply unmask the users of

  accounts—who may or may not be anonymous—without first consulting the First

  Amendment. X Corp. also avers that, although Plaintiffs may seek only basic

  subscriber and payment information, First Amendment protections are still

  applicable. Thus, in X Corp.’s view, the Court must balance (1) the account holders’

  First Amendment Right to anonymous free speech with (2) the movants’ interest in

  the account holders’ information to aid in satisfying the judgment.




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        We agree with Plaintiffs that, because (1) the Court has no reason to believe

  the Subject Accounts belong to anonymous speakers and (2) Plaintiffs seek

  information of a commercial nature, First Amendment protections do not apply.

        As to anonymity, X Corp. makes a compelling argument that, had this been an

  instance where the Court had reason to believe an anonymous speaker was involved,

  a First Amendment analysis would be required. But here, the Court will not presume

  that behind the Subject Accounts lie anonymous speakers. While the Court

  understands X Corp.’s decision to err on the side of caution in protecting its account

  users’ information, X Corp. has provided no authority that there exists a presumption

  of anonymity for social media accounts. In addition, in each case upon which X Corp.

  relies to raise the issue of anonymity, either (1) the anonymous party itself is

  objecting to the subpoena, (2) it is clear from the facts that the account holder either

  was anonymous or wished to remain anonymous, and/or (3) the information sought

  went far beyond the information sought by Plaintiffs. Moreover, here, each of the

  Subject Accounts are verified 2 and contain no characteristics or features that indicate

  anonymity. Nor has the Court received any objections from the account holders

  themselves (who, presumably, were noticed of the subpoena) that they wish to retain

  their anonymity.




  2 The Court is cognizant of X Corp.’s argument that, although an account may be

  verified, X Corp.’s verification process does not require X Corp. to actually verify a
  user’s identity. But given that each of the accounts is verified, the Court will not
  presume that the account holders are anonymous unless given a probative reason (let
  alone that they wish to remain anonymous and yet did not object to the subpoena).
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        Further, the information sought by the subpoena is primarily of a commercial

  nature: subscriber and payment information. Seeing that anonymity has not

  sufficiently been made a concern, and the information may be highly relevant and

  useful to Plaintiffs’ post-judgment collection efforts, the Court finds the sought

  information to be discoverable. See Doe, 2011 WL 4593181, at *4 (noting that “courts

  hearing motions to suppress evidence under the Fourth Amendment routinely reject

  the argument that subscribers have a privacy interest in their account information”);

  AF Holdings, LLC, 2012 WL 488217, at *4 (“These arguments fail to establish

  grounds for quashing the subpoena to Verizon. The subpoena seeks information that

  the Doe Defendant freely provided to Verizon, his/her Internet Service Provider. As

  courts have routinely held, “Internet subscribers do not have a reasonable expectation

  of privacy in subscriber information they have already conveyed to their [Internet

  Service Providers].”); London v. Does 1-4, 279 F. App'x 513, 515 (9th Cir. 2008)

  (affirming finding that a subpoena did not violate the First Amendment and was “not

  unduly intrusive or burdensome because it s[ought] to gather only identifying

  information for the accounts, such as the names and addresses of the users, and not

  the content of any communication”).

        And further, even if the Account Holders had an interest in the account

  information that they voluntarily provided to X Corp., that minimal interest would

  be overridden by Plaintiffs lawful effort to satisfy their TRIA judgment. See AF

  Holdings, LLC, 2012 WL 488217, at *4 (“Thus, whatever privacy interest the Doe




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  Defendant may have in his/her contact information is overcome by the Plaintiff's need

  to identify and pursue litigation against these purported infringers.”).

        Thus, because X Corp.’s objection 3 does not demonstrate why anonymity

  should be at issue, and because Plaintiffs seek only basic subscriber and payment

  information, Plaintiffs’ Motion is granted and X Corp.’s objections are overruled.

                                      III. CONCLUSION

        For the reasons set forth above, Plaintiffs’ Motion [D.E. 128] is GRANTED.

  X Corp. shall comply with Plaintiffs’ subpoena within 14 days of the entry of this

  Order.

        DONE and ORDERED in Chambers in Miami, Florida this 9th day of

  January, 2025.

                                                /s/ Edwin G. Torres
                                                EDWIN G. TORRES
                                                United States Magistrate Judge




  3 While X Corp. does not frame its response as an objection per se, the Court will

  construe X Corp.’s response as an objection for purposes of this Motion to Compel.
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